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                       EXHIBIT 11
                         Part 1
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                       DECLARATION PURSUANT TO RULE 44.1
                            OF ANDREW M. PARDIECK



I.     BACKGROUND & QUALIFICATIONS



      1.     As set out in my vitae, after completing my undergraduate degree at
Harvard College, I graduated with a Juris Doctor degree from the Indiana University
School of Law, Bloomington. 1 After admission to the Indiana State Bar, I enrolled in the
Hokkaido University School of Law in Japan and graduated with a doctorate degree in
law (法学博⼠ (Doctor of Juridical Science)).

       2.     As part of and following graduate school, I have researched and published
works on Japanese law, in Japanese. As set out in my vitae, the Commercial Law Centre
(SHOUJI HOUMU KENKYUUKAI) published a book that I wrote, in Japanese, comparing
Japanese and American securities law. The Legal Research Foundation of the Japan
Federation of Japanese Bar Associations described this publication as “a work that has
practical value.” 2 Japanese law journals, including the HANREI TAIMUZU, have also
accepted and published law journal articles that I have written analyzing Japanese law.

       3.     I have also written, in English, on Japanese securities law, civil procedure,
and other topics, and published in law journals in the United States and Europe.3 I have
given invited lectures on Japanese law in Japan, including for the Japan Federation of Bar
Associations, as well as in Australia and the United States. I am not licensed as an
attorney in Japan, but my education and experience in Japan has enabled me to, for over
twenty-five years, research, publish, and present on Japanese law.

       4.     My work experience includes serving as general counsel for Temple
University, Japan Campus, in Tokyo. A significant part of my responsibilities there
involved researching Japanese law to ensure compliance on issues ranging from
corporate registration requirements to labor law. While working as general counsel, I
also held an appointment as an Assistant Professor of Law at the Temple University
Beasley School of Law. I taught courses in this capacity, including an Introduction to
Japanese Law and a Comparative Corporate Law course, at Temple’s Tokyo campus.




1
  See Pardieck Curriculum Vitae, Ex. A.
2
  Nichibenren Hōmu Kenkyū Zaidan [Legal Research Foundation of the Japanese Federation of Japanese
Bar Associations], HŌMU SOKUHŌ [LEGAL AFFAIRS BULLETIN] (No. 2, June 30, 2001), available
at https://www.jlf.or.jp/members/hanrei_mailmag/hanrei_data002.shtml.
3
  See Pardieck c.v., supra note 1.

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        5.    I left Temple University in Tokyo to return to the United States and teach
full time. I am currently a Professor of Law at the Southern Illinois University School of
Law. I am also principal of Japan-America Consulting, LLC, and, in this capacity,
research and consult on issues relating to Japanese law.



II.     SUMMARY OF JAPANESE LAW



      6.     I have been asked to discuss Japanese law governing civil liability for
misrepresentations made in required disclosures for shares traded in secondary markets,
and, more specifically, sections of Japan’s Financial Instruments and Exchange Act (FIEA)
addressing this issue.

      7.     I have also been asked to address Japanese civil procedure as it relates to
recognition of foreign judgments, in particular the recognition of judgments handed
down by a United States court in Japan.

       8.     In preparing this declaration, I reviewed primary sources of Japanese law
and academic literature relevant to these issues, including but not limited to the sources
cited herein. English translations of excerpts from select sources are attached hereto as
Ex. B.

       9.     I have also reviewed Plaintiffs’ Memorandum of Law in Support of Motion
for Class Certification, Defendant Toshiba Corporation’s Opposition to Plaintiffs’ Motion
for Class Certification, including its accompanying Exhibits Nos. 1 – 9, and documents
filed by Defendant Toshiba Corporation in securities litigation in Tokyo District Court.

      10.       The Japanese law and practice discussed below can be summarized as
follows:

                A. While Japan’s Code of Civil Procedure is premised on “private
                   autonomy,” and formal class actions are recognized only in cases
                   involving consumer contracts, the Japanese courts regularly resolve
                   claims, including securities fraud claims, in “quasi-class actions.”4

                B. While the Code of Civil Procedure establishes requirements for a
                   Japanese court to recognize the validity of a foreign judgment, no
                   Japanese court has ever refused to recognize a decision by a U.S. court
                   because it involved a class action. Japanese courts have declined to

4
 See infra Section III.F, quoting Gen Goto, Growing Securities Litigation Against Issuers in Japan: Its
Background and Reality, 20-24, Table 2 (January 12, 2016), available at SSRN:
https://ssrn.com/abstract=2714252.

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                    recognize foreign judgments based on procedural grounds where the
                    courts find the due process rights of a defendant have been violated.5

                C. With the adoption of the Book-Entry Act in Japan in 2001, all listed
                   shares are now traded via accounts maintained by transfer and financial
                   account management institutions. But owners retain their rights as
                   shareholders and investors. The Book Entry Act and brokerage
                   transaction records allow investors to confirm ownership for the
                   purpose of litigation. Publicly available information suggests that both
                   individual and institutional investors have pursued those rights in
                   litigation in Japan relating to the Toshiba accounting at issue in this
                   case.6 U.S. institutional investors have also pursued and settled claims
                   in Japanese courts in securities fraud litigation involving Olympus
                   Corporation.

                D. While Japanese courts have recognized claims under the FIEA for
                   “damages due to the acquisition itself,” akin to rescissory damages,
                   Plaintiffs in this case have not “jettisoned potentially valuable rights” in
                   electing not to seek such damages. Courts have awarded “damages due
                   to the acquisition itself” in only a “extremely limited” number of cases,
                   usually where, but for the misrepresentation the shares would not have
                   been listed and available for purchase.7

                E. FIEA Art. 21-2(1), the section that establishes issuer liability for
                   misrepresentations in disclosures for publicly traded securities, makes
                   clear that if an investor knows of the false statement, etc. at the time of
                   acquisition there is no remedy. However, the Japanese courts are
                   equally clear that the issuer’s announcement of the creation of a third-
                   party commission does not, ipso facto, establish a cut-off date for claims.
                   Japan’s Supreme Court defines liability under FIEA Art. 21-2 as a special
                   application of basic tort law. As such, the issuer is liable for “any and
                   all damage that has an adequate causal relationship with the false
                   statement” and terminating causation routinely depends on publication




5
  See infra Section III.H, discussing cases cited in MINSOHOU Art. 118(3) MOHAN ROPPOU (Sanseido
2021).
6
  See infra Section III.E, citing Toshiba, Tousha in Taisuru Songai Baishou Seikyuu Soshou no Teiki ni
Kansuru oShirase (Feb. 23, 2018), available at
https://www.toshiba.co.jp/about/ir/jp/news/20180223_1.pdf;
 https://www.toshiba.co.jp/about/ir/jp/news/20161013_1.pdf.
7
  See infra Section III.C, quoting TAKASHI KAWACHI, KINYUU SHOUHIN TORIHIKIHOU NO
RIRON/JITSUMU/HANREI [FINANCIAL INSTRUMENTS AND EXCHANGE ACT THEORY, PRACTICE, AND CASE
LAW] 94 (2019).

                                                   3
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                    of “fundamental facts” that “reveal misevaluation by the exchange
                    market.”8

                F. FIEA Art. 21-3 cuts off claims based on the doctrine of prescription:
                   Investors’ rights to compensation are “extinguished” two years from the
                   date they should have learned of the material representation or five
                   years from the time the securities report in question was submitted.9

        11.     Each point is discussed in additional detail below.



III.    JAPAN’S FINANCIAL INSTRUMENTS AND EXCHANGE ACT ART. 21-2



                            A. Historical Context and Structure of the Act


       1.     When Japan revised its securities law after World War II,10 it modeled its
statute on U.S. securities laws.11 Japan combined the requirements found in the U.S. 1933
Act and 1934 Act into its Securities Exchange Act and established a Securities Exchange
Commission. 12 In doing so, it instituted a system of required disclosures for publicly
traded companies similar, in part, to that found in the United States.

        2.     Prior to 2006, Japan’s securities statute provided for civil liability for
misrepresentations by companies and their officers in disclosure documents associated
with public offerings and distributions in the primary market, but it was silent regarding
civil liability for representations that affected trading in the secondary markets. 13
Investors in the secondary markets, instead, relied on tort law to pursue a remedy for




8
  See infra Section III.B, quoting Saikousai [Sup. Ct.], Hei 2010 (Ju) 755, Mar. 13, 2012, 66 Minshu No.
5 (Livedoor decision). The Supreme Court of Japan has published an English translation of this decision,
which is quoted herein. See Judgments of the Supreme Court 2010 (Ju) 755,
https://www.courts.go.jp/app/hanrei_en/detail?id=1153.
9
  See infra Section III.D, quoting FIEA Art. 21-3.
10
   See Makoto Yazawa, A Synopsis of Securities Regulation in Japan, in JAPANESE SECURITIES
REGULATION 24 (Louis Loss et al. eds. 1983); Satoshi Nakamura, Kinyuu Shouhin Torihiki Hou Gairon
[An Outline of the Financial Instruments and Exchange Act], BUSINESS ISSUES, available at LexisNexis
JP.
11
   Yazawa, supra note 10, at 24.Id.
12
   Id.
13
   Id. at 3; Goto, supra note 4, at 5.

                                                   4
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damages arising from misrepresentations made in disclosures filed for publicly traded
companies.14

       3.     According to Japan’s Financial Services Agency, this placed a heavy burden
of proof on investors, which it sought to lighten. In 2006, Japan significantly revised its
securities statute, increasing its regulatory scope and renaming it the Financial
Instruments Exchange Act (FIEA).15 In doing so, it imposed strict liability on issuers
making misleading statements in disclosures for publicly traded securities, and it created
a presumptive measure of damages for the same.16

       4.     The FIEA’s stated goal is to contribute to “the sound development of the
national economy and the protection of investors.”17 Japan’s Financial Services Agency
explained that the 2006 amendments were intended to strengthen investors’ ability to
pursue liability through civil lawsuits, deter wrongful acts, and further the fairness and
transparency of the securities markets.18

       5.      FIEA Article 21-2 imposes civil liability on issuers of publicly traded
securities for material misrepresentations made in specified disclosure documents during
the public inspection period for the relevant disclosure. 19 Article 21-2 provides a
framework for that liability defining misrepresentations, materiality, culpability,
causation, and damages.20

       6.     Article 21-2 imposes civil liability on issuers for misleading statements,
including false statements about a material fact, omissions of a necessary material fact, or
an omission of “a statement of material fact that is necessary to prevent it from being




14
   See Goto, supra note 4 at 5; HIDEKI KANDA ET AL., KINYUU SHOUKEN TORIHIKI HOU
KONMENTARU—TEIGI/KAIJI SEIDO 468 (2nd ed. 2018).
15
   Financial Services Agency [Kinyuucho], Kinyuu Shouhin Torihiki Hou Ni Tsuite [About the Financial
Instruments and Exchange Act], http://www.fsa.go.jp/policy/kinyusyohin/; Panel Discussion, Kinyuu
Shouhin Torihiki Hou—Jitsumujou no Kadai to Tenbou, 1390 JURISUTO 4 (2009).
16
   See ETSURO KURONUMA, KINYUU SHOUHIN TORIHIKI HOU 234 (2016).
17
   FIEA art. 1.
18
   Id.
19
   See, e.g., Financial Services Agency [Kinyuucho], Jimukyoku Setsumei Shiryou—Kyogi Kaiji Shourui
ni Kakaru Songai Baisho Sekinin [Secretariat Explanatory Materials—Damages Liability for False
Disclosure Documents 3 (November 20, 2013)], available at
http://www.fsa.go.jp/singi/singi_kinyu/risk_money/siryou/20131121/02.pdf.
20
   Kinyuu Shouhin Torihiki Hou [Financial Instruments and Exchange Act (“FIEA”)] Law No. 25 of
1948, art. 21-2(1). See also HIROYUKI KANSAKU ET AL., JAPANESE FINANCIAL INSTRUMENTS AND
EXCHANGE ACT 459 (2018).

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misleading.”21 Collectively, the FIEA defines these elements, as a “false statement, etc.”
about a “material particular.”22

       7.      Article 21-2 imposes liability only for material misrepresentations made in
documents disclosed pursuant to Article 25(1), including, inter alia, annual reports,
attachments, and any corrections; semi-annual reports and any corrections; quarterly
reports and any corrections; extraordinary reports and any corrections; and internal
control reports, attachments, and any corrections.23 It provides for damages only where
the plaintiff acquired or disposed of shares during the public inspection period for the
relevant report.24

         8.     As discussed above, with the adoption of Article 21-2, the FIEA imposed
strict liability on issuers making the “false statement, etc.” in their disclosures.25 In 2014
amendments to the FIEA modified this section to eliminate strict liability and, instead,
shift the burden of proof regarding culpability to the issuer. After the amendments, an
issuer may avoid civil liability if it proves that the misleading statement was made
without intent or negligence.26

        9.     Plaintiffs need not prove reliance on the disclosure in question.27 Courts
have held that “with regard to whether a purchaser actually relied on the false statement,
etc. found in the securities report and that formed an important element of the investment
decision, it should be said that this is unrelated to the success or failure of the right to
prove damages.”28 Scholars have interpreted the absence of a reliance requirement in the

21
   Japan’s Ministry of Justice provides an “unofficial” translation of the FIEA, as amended 2019, with
Art. 21-2 imposing liability for “a false statement about a material particular, omits a statement as to a
material particular that is required to be stated, or omits a statement of material fact that is necessary to
prevent it from being misleading.” See Min. of Justice, Japanese Law Translation, Financial Instruments
Exchange Act [FIEA], Law No. 25 of 1948 (as amended 2019), available at
http://www.japaneselawtranslation.go.jp/law/detail/?printID=&ft=2&re=2&dn=1&yo=Financial+Instrum
ents+and+Exchange+Act&x=0&y=0&ia=03&ja=04&ph=&ky=&page=1&vm=02.
22
   FIEA, supra note 48, at art. 21-2(1).
23
   See Goto, supra note 4, at 6; KANDA ET AL., KINYUU SHOUKEN TORIHIKI HOU KONMENTARU, supra
note 14, at 468.
24
   FIEA art. 21-2(1); See also KANSAKU ET AL., supra note 20, at 459. In 2014, Japan amended Article
21-2 to allow not only investors who had purchased but also those who disposed of securities during the
period in which the false or misleading disclosures where available for review to sue for damages under
the FIEA. See Financial Services Agency, Kinyuu Shouhin Torihiki Hou to no Ichibu wo Kaisei Suru
Houritsu Ni Kakawaru Setsumei Shiryou [Explanatory Materials Regarding the (2014 Law No.44)
Revisions to a Portion of Financial Exchange and Instruments Act], available at
http://www.fsa.go.jp/common/diet/186/01/setsumei.pdf.
25
   See KURONUMA, supra note 16, at 234.
26
   See Financial Services Agency, Kinyuu Shouhin Torihiki Hou to no Ichibu wo Kaisei Suru Houritsu ni
Kakawaru Setsumei Shiryou, supra note 24.
27
   See, e.g., Tokyo Dist. Ct., June 13, 2008, Heisei 18 (wa) No. 28894 et al.; Goto, supra note 4, at 6.
28
   See, e.g., Tokyo Dist. Ct., June 13, 2008, Heisei 18 (wa) No. 28894 et al.

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statute to mean that “liability under Article 21-2 is based generally on the fraud-on-the-
market theory in the U.S.”29

       10.    At the same time, Article 21-2(1) states that the issuer is not liable for
damages “if the person that acquires or disposes of the Securities knows of the False
Statement, etc. at the time of the acquisition or disposal.”30 Proof that the investor did not
inspect the report will not relieve the issuer from liability, but defendant’s proof that the
investor knew of the “false statement, etc.” at the time of acquisition or disposal will.31


                                 B. Claims for Presumptive Damages


       11.   Article 21-2 establishes a presumptive measure of damages that may be
used by plaintiffs who purchased the security during the one (1) year period prior to
disclosure of sufficient facts to make clear the misleading nature of the earlier
representation.32 This section of the statute effectively creates a presumption of causation
and establishes a measure of damages.33

       12.    For investors who (i) have purchased the shares within one (1) year of the
“disclosure date” of the misrepresentation, and (ii) continue to hold the shares at the
point of the disclosure of the false statement, etc., (iii) damages caused by the material
misrepresentation are “presumed to be the difference between the average market price
of the one-month period before such an announcement and the average market price of
the one-month period after such an announcement.” 34 Scholars describe this
presumption as a means to restore to plaintiffs their “out-of-pocket damages.”35

       13.     The presumptive measure of damages is rebuttable. 36 A defendant may
limit damages by proving that the decline in the value of the security, in whole or part,
was due to circumstances other than the “False Statement, etc.” in the disclosure.37 Article
21-2 also provides the court with discretion to limit presumptive damages if the court
finds that circumstances other than the misleading statements caused the drop in price

29
   Goto, supra note 4, at 6.
30
   FIEA Art. 21-2(1).
31
   FIEA Art. 21-2(1). See also KANSAKU ET AL., supra note 20, at 459-60.
32
   See KURONUMA, supra note 16, at 234.
33
   Goto, supra note 4, at 6.
34
   FIEA Art. 21-2(3); Goto, supra note 4, at 7; KURONUMA, supra note 16, at 239.
35
   Goto, supra note 4, at 7.
36
   FIEA Art. 21-2(5) & (6).
37
   FIEA Art. 21-2(5) states: “In the case referred to in paragraph (3), if the person that would be liable to
compensate proves that the whole or part of the damage sustained by the claimant was due to
circumstances other than the decline in the value of the Securities that could have arisen from the
Document's false statement, etc., the person is not liable for the whole or such part of the compensation”.
See also KANSAKU ET AL., supra note 20, at 462-3.

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and those circumstances make proof of loss not causally related to the misleading
statement extremely difficult.38

       14.    For the purposes of determining presumptive damages, the “disclosure of
the existence of a False Statement, etc.” is defined to occur when a person with authority
has taken measures:

                to put the material particular that is required to be stated and that
                the Document’s false statement, etc. concerns or the material fact that
                is necessary to prevent the Document from being misleading in
                connection with the same, into a form that allows for a large number
                of persons to learn of it through public inspection provided in Article
                25, paragraph (1) or through other means.39

       15.    Japan’s Supreme Court first addressed disclosure of the existence of a “false
statement, etc.” in the context of Article 21-2’s presumption of damages in its seminal
Livedoor case. 40 The Supreme Court required publication of “fundamental facts” that
“reveal misevaluation by the exchange market”:41

                [I]t is…not sufficient that said measures have been taken only to
                publicize the existence of the false statement, etc…. [I]t is sufficient
                that such measures have been taken to publicize fundamental facts
                that are sufficient to reveal misevaluation by the exchange market
                regarding the securities issued by the person who submitted the
                annual securities report, etc. that contains the false statement, etc.42

38
   Id. at 21-2(6) [prior to the 2014 amendments Art. 21-2(5)]; KANSAKU ET AL., supra note 20, at 461-4.
Scholars state this provision is akin to Code of Civil Procedure Art. 248, which states: “If damage is
found to have occurred, but, due to the nature of the damage, it is extremely difficult to prove the amount
of damage that occurred, the court may reach a finding on the amount of damage that is reasonable, based
on the entire import of oral arguments and the results of the examination of evidence.” See Code of Civil
Procedure, Law No. 109 of 1996, available in English at
http://www.japaneselawtranslation.go.jp/law/detail/?ft=2&re=2&dn=1&yo=Civil+Procedure&x=0&y=0
&ia=03&ja=04&ph=&ky=&page=1
39
   FIEA Art. 21-2(4)[Art. 21-2(3) before the 2014 amendment].
40
   Sup. Ct., Mar. 12, 2012, 66 SAIKOSAI MINJI HANREISHU 1957; KURONUMA, supra note 16, at 240;
TAKEO SAKURAI ET AL., SHIN KINYUU SHOUHIN TORIHIKI HOU HANDOBUKKU 96 (4th ed. 2018).
41
   Sup. Ct., Mar. 12, 2012, 66 SAIKOSAI MINJI HANREISHU 1957; KURONUMA, supra note 16, at 240;
Sakurai et al., supra note 40, at 96.
42
   Sup. Ct., Mar. 12, 2012, 66 SAIKOSAI MINJI HANREISHU 1957; KURONUMA, supra note 16, at 240.
Drafters of the Art. 21-2 legislation distinguish “public announcement” here and “public announcement
pursuant to insider trading regulations.” With Art. 21-2 claims, there is no predetermined method for
such announcement. Rather, “measures taken that will generally enable large numbers of persons to
learn” of the misrepresentation are sufficient, including, e.g., announcements by a regulatory authority;
public announcements measures by an exchange; a press announcement, and notice on the issuer’s home
page. See Kinyuu Hou Iinkai, Kinyuu Shouhin Torihiki Hou Dai 21 jou no 2 ni Kakaru Kaishakuron no

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         16.    Scholars have interpreted this language to mean that “just disclosing the
 fact that there are false statements, etc. without disclosing details does not constitute
 “disclosure” as provided in the Act; however, “taking the above-mentioned measures
 regarding basic facts sufficient to clarify the misevaluation in the exchange market of the
 securities issues by the person who submitted the annual securities reports, etc. with false
 statements, etc. is sufficient to constitute the same.”43
         17.    The lower courts in Japan have applied this standard since. In 2011,
 Olympus Corporation disclosed that it had engaged in fraudulent accounting practices
 hiding $1.7 billion in losses. 44 In the individual, institutional, and quasi-class action
 investor litigation that followed,45 the courts reviewing plaintiff’s FIEA Art. 21-2 claims
 did not tie “public disclosure” to the date that Olympus established its third-party
 commission. Instead, courts found a later Olympus press release and press conference
 announcing that Olympus had deferred posting losses since the 1990s “provided a
 sufficient degree of basic facts to make clear the market’s mistaken evaluation” of its share
 price.46 An appellate court, citing the Supreme Court’s Livedoor decision focused on an
 announcement setting out the possibility of large losses that “created circumstances for
 large numbers to be able to learn of basic facts making clear the error in the market’s
 evaluation of defendant’s shares.”47
         18.    Japanese courts have evaluated the effect of disclosures in other large cases
 involving fraudulent accounting practices. In 2007, Japan’s IHI Corporation, a
 multinational corporation engaged in, inter alia, the construction of power plants,
 corrected its earnings reports to disclose a loss of ¥4.6bn instead of the profits of ¥15.8bn.
 It had falsely inflated profits by manipulating percentage of completion and other
 accounting standards used in its construction projects.48 After hundreds of investors filed

 Seiri (Songaigaku no Santei Houhou—Kouhyou Gainen to Hoka Jijou no Hani—wo Chuushin to Shite 8
 (Mar. 2017), available at ⾦融商品取引法第 21 条の 2 に係る解釈論の整理（損害額の算定⽅法―
 公表概念と他事情の範囲―を中⼼として） (flb.gr.jp).
 43
     KANSAKU ET AL., supra note 20, at 461 (2018).
 44
     See Olympus Corporation Third Party Committee, Investigation Report 1, 7-115, 185 (Dec. 6, 2011),
 available at https://www.olympus-global.com/en/common/pdf/if111206corpe_2.pdf; Toshiba’s
 accounting scandal among the biggest in Japan corporate history, THE JAPAN TIMES (July 21, 2015),
 available at https://www.japantimes.co.jp/news/2015/07/21/business/corporate-business/toshibas-
 accounting-scandal-among-biggest-japan-corporate-history/.
 45
    Japanese securities law scholars use the term “quasi-class action” to describe the securities litigation in
 this and subsequent cases referenced herein. See Goto, supra note 4, at Table 2.
 46
     Osaka Dist. Ct., Heisei 24 (wa) No. 3287, July 21, 2015. Tokyo Dist. Ct., Mr. 19, 2015, 379
 SHIRYOUBAN SHOUJI HOUMU 213. See Kinyuu Hou Iinkai, supra note 42, at 12; Akira Mizobuchi, Yuuka
 Shouken Houkokusho nado no Kyogi Kisai to Songai Baishogakuy no Santei—Oosaka Kouhan Heisei
 28/6/29, 1568 KINYUU SHOUJI HANREI 2 (June 15 2019). See also Olympus Corporation Third Party
 Committee, Investigation Report 1 (Dec. 6, 2011), available at https://www.olympus-
 global.com/en/common/pdf/if111206corpe_2.pdf
 47
     Osaka Kousai, Hei (27 (ne) No. 2577, June 29, 2016, at Dai 6.2(2).
 48
     Toshiba’s accounting scandal among the biggest in Japan corporate history, supra note 44.

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 suit in a quasi-class action, 49 a Tokyo District Court, reviewed IHI’s public
 announcements, including its “timely disclosure” notices regarding revisions to its
 earnings forecast and its anticipated corrections to earlier forecasts. The court examined
 announcements that described only “possible” revisions to financial results, but found
 the releases made clear facts describing the large scale, including newly recognized losses
 of approximately ¥28bn, which were sufficient to constitute a “public announcement,” or
 disclosure as defined by FIEA Art. 21-2. 50 The court did not determine the public
 announcement date by reference to defendant’s later establishment of a third-party
 commission.51
        19.     The Japanese Supreme Court’s decision in Livedoor supports the same type
 of analysis with regard to causation generally. The Supreme Court has held that FIEA
 Article 21-2 is a special application of general principles of tort law established in Article
 709 of the Civil Code. As a result, it does not limit the damages that can be claimed by
 investors, except as provided in Article 19(1):

                 ’damage’ as set forth in Article 21-2, paragraph (1) of the Act is
                 considered to include any and all damage that has an adequate
                 causal relationship with the false statement, etc., in the same
                 meaning as the damage for which compensation is claimable based
                 on the provisions of general tort law. As a result, “damage” as set
                 forth in Art. 21-2(1) “is considered to include any and all damage
                 that has an adequate causal relationship with the false statement,
                 etc.”52

 Judges have analyzed the Supreme Court’s Livedoor decision and explained: “looking at
 the language of Art. 21-2, whether Section 1 or Section 2, the scope of compensation to be
 recognized as ‘damages’ differs in no way from ‘damage’ as defined by Civil Code 709.”53

        20.    Scholars interpret FIEA Art. 21-2 and the judicial decisions that interpret it
 as establishing a presumptive measure of causally related damages and, where the


 49
    Goto, supra note 4, at Table 2, Item 26.
 50
    Tokyo Dist. Ct., Nov. 27, 2014, 49 SHOUKEN TORIHIKI HIGAI HANREI SELECT 1. Kinyuu Hou Iinkai,
 supra note 42, at 13; Daichi Fujibayashi, Yuuka Shouken Houkokushonado no Kyougi Kisai to Hakkou
 Kaisha no Songai Baisho Sekinin—IHI Jiken, 1521 KINYUU/SHOUJI HANREI 6 (Aug. 1, 2017).
 51
    See Kabushiki Kaisha IHI, Shagai Chousa Iinkai no Chousa Houkokusho ni tsuite, available at
 https://www.ihi.co.jp/ihi/all_news/2007/ir/__icsFiles/afieldfile/2020/03/24/12fc8c6b1347bc5453e2b3c0d
 a99a434_26.pdf.
 52
    Sup. Ct., Mar. 12, 2012, 66 SAIKOSAI MINJI HANREISHU 1957. See Judgments of the Supreme Court
 2010 (Ju) 755 (English translation), supra note 8.
 53
    Takaaki Mutou, 3079 SAIKOU SAIBANSHO HANREI KAISETSU (95). See also Tokyo Dist. Ct., Hei 26
 (wa) Nos. 15083 & 26715, Mar. 28, 2018 at Sec. 3.2 & 3.2 (recognizing FIEA Art. 21-2 as a special
 provision of tort law, with liability for damages of the same nature as that based on tort law; awarding
 causally-related damages, pursuant to Art. 21-2(1), for shares purchased prior to disclosure date based on
 distorted share price in the market).

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 presumption does not apply, determining causally related damages based on general tort
 principles.54
        21.    In sum, while Defendant’s Rule 44.1 declaration by Professor Yanaga
 suggests announcement of a third-party commission terminates liability, Japan’s
 Supreme Court decision in Livedoor recognizes any damage that has “an adequate causal
 relationship” with the misrepresentation, and courts look for publication of
 “fundamental facts” that “reveal misevaluation by the exchange market” to determine
 whether a public announcement regarding the misrepresentation(s) is sufficient to break
 the chain of causation.



                                     C. Other Measures of Damages


        22.     Scholars describe the presumptive measure of causation and damages
 discussed above as a means to restore to plaintiffs their “out-of-pocket damages,” but
 note plaintiffs may seek damages in excess of presumptive damages, up to the maximum
 permitted by Art. 19(1).55 If the requirements for establishing presumptive damages are
 not met or if plaintiffs elect to prove damages in excess of the presumptive amount,
 damages are calculated based on the general principles set out in Art. 21-2(1), with
 plaintiffs bearing the burden of proving damages and causation.56

        23.    In determining which damages have an adequate causal relationship with
 the issuer’s misrepresentation, Japanese courts and scholars recognize that damages may
 be calculated by reference to either (a) an inflated acquisition price measure of damages
 (takane shutoku songai) or (b) “acquisition itself as damages” (shutoku jitai songai)
 measure.57

        24.    With the former, damages are based on claims that, because of the
 misrepresentation, plaintiff purchased the security at an inflated price, which is
 established by determining the difference between the actual price and a hypothetical
 price of the security without misrepresentation. When claiming damages based on the

 54
    YAMASHITA TOMONOBU & HIDEKI KANDA, KINYUU SHOUHIN TORIHIKIHOU GAISETSU 224 (2nd. Ed.
 2017). Compare Defendant Toshiba Corporation’s Opposition to Plaintiffs’ Motion for Class
 Certification, Exhibit 7, Written Opinion of Masao Yanaga, p. 3-4.
 55
    Sakurai et al., supra note 40, at 90; Kanda et al., supra note 14, at 471. See, e.g., Osaka Kousai [Osaka
 High Ct.], Hei 27 (ne) No. 2577, June 29, 2016 (Olympus case awarding damages based in tort as higher
 than presumptive damages based on Art.21-2); Tokyo Chisai [Tokyo Dist. Ct.], Hei 26 (wa) No. 15083,
 26175, Mar. 28, 2017 (Risou Kyoiku case awarding damages based on Art. 21-2(1) as higher than
 presumptive damages under Art.21-2(2)).
 56
    Kanda et al., supra note 23, at 471; KURONUMA, supra note 16, at 246-7; TAKASHI KAWACHI, KINYUU
 SHOUHIN TORIHIKIHOU NO RIRON/JITSUMU/HANREI [FINANCIAL INSTRUMENTS AND EXCHANGE ACT THEORY,
 PRACTICE, AND CASE LAW]69 (2019); Goto, supra note 4, at 7.
 57
    KURONUMA, supra note 16, at 247; Kawachi, supra note 56, at 69.

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 latter, the damages are based on the acquisition itself, i.e. plaintiff’s claims that but for
 the misrepresentation plaintiff would not or could not have purchased the security.

        25.    Japan’s Supreme Court first recognized the latter theory of damages in its
 2004 Seibu Railways decision, a case where, but for the misrepresentation the shares would
 have been delisted. In Seibu Railways, the Supreme Court held that, when the investor
 would not have purchased the shares but for the misrepresentation, damage for the
 investor causally related to the misrepresentation is measured by the difference between
 the acquisition price and the market price at which the stock was sold after publication
 of the misrepresentation. Or, if the investor remained in possession of the shares, the
 difference between the acquisition price and the market price at the time of the final
 hearing. Any decline in share price attributable to factors other than the misleading
 statements, including those relating to economic conditions, market fluctuations, the
 issuer’s economic indicators, and the like, is then subtracted from this total.58 In essence,
 Japan’s Supreme Court recognized rescissory damages on a showing of proof that, but
 for the misrepresentation an investor would or could not have purchased the shares.

        26.    Since then, when plaintiffs have claimed such damages, the courts have
 routinely rejected such claims.59 One treatise summarizes these decisions as follows:

           In the case law thus far, cases where the acquisition of the shares themselves
           is deemed to be damages have been extremely limited, such as where, had
           there not been a false representation, there would have been an extremely
           high probability that the shares would have been delisted or an ordinary
           investor would not have been able to acquire the shares, or where a large
           amounts of profits had continuously been recorded from the time of market
           listing through false statements even though the reality was that there were
           large losses.60

         27.  Another scholar states that, while it is difficult to generalize, cases
 recognizing damages due to the acquisition itself often do so “where it can be said that
 the shares would have been delisted had there been no false statements, etc., or where
 the shares would not have been listed in the first place had there been no false statements,
 etc.”61

       28.     The cases cited by Defendant’s declarant, Professor Yanaga, support this
 assessment. 62 The November 30, 2011 Tokyo High Court decision awarded damages

 58
      Saikousai [Sup.Ct.], Sept. 13, 2011, 65 Minshuu (6) 2511; Sakurai et al., supra note 40, at 94.
 59
      Matsuo, supra note 7, at 396-7; Kawachi, supra note 56, at 94.
 60
   Kawachi, supra note 56, at 94; Saikousai [Sup.Ct] Sept. 12, 2011; Tokyo Kousai [Tokyo High Ct.], Apr.
 12, 2011, 1374 KINHAN 30. See also Matsuo, supra note 7, at 397.
 61
      Kenichi Matsuo, supra note 7, at 396-7.
 62
      See Yanaga, supra note 54, at 5 n. 11.

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 based on the acquisition itself only after finding that there was a “very high probability”
 that the defendant’s shares would have been delisted once the misleading statements
 were made public such that the plaintiff’s “could not have acquired” the shares in
 question either on or off market or it was “certain” that the plaintiffs could have avoided
 the acquisition. 63 The November 25, 2015 Tokyo District Court decision rejected
 plaintiffs’ acquisition as damages claims. It found that, while disclosure of the misleading
 reports would have turned investor evaluation of defendant’s stock “extremely
 negative,” the facts did not show that “if there had not been the false statements in
 question, that plaintiff could not have acquired the securities in this case or that it was
 certain that the acquisition would have been avoided.”64

        29.     In summary, while Defendant’s declarant discusses the “damages due to
 the acquisition itself” theory and Defendant has argued that plaintiffs have “jettisoned
 potentially valuable rights,”65 Japanese courts rarely award these damages. There are
 only an “extremely limited” number of cases recognizing “damages due to the
 acquisition itself.”



                                           D. Prescription Period


        30.    Claims against the issuer pursuant to Article 21-2 are subject to a period of
 prescription, akin to a statute of limitations. 66 Rights to claim compensation are
 “extinguished” if the claim is not made within two (2) years from the time the investor
 comes to know, or in the exercise of reasonable care should have come to know, that the
 disclosure documents contained misleading statements. 67 The statute also includes a
 longer, objective time limitation extinguishing rights to compensation if the claim is not
 brought “within five (5) years of the time the [disclosure] document was submitted.”68



             E. Art. 21-2 Claims for Shares Held in Book-Entry Transfer Accounts



        31.    In 1984, Japan enacted its Law Concerning the Holding and Transfer of
 Stock Certificates （Kabuken no Hokan to Furikae ni kansuru Houritsu）permitting investors

 63
    Tokyo Kousai [Tokyo High Ct.], Hei 21 (ne) No.3956, Nov. 30, 2011, at Sec. 3.1(12).
 64
    Tokyo Chisai [Tokyo Dist. Ct.], Hei 22 (wa) No. 26192, Heisei 27.11.25 at Sec. 3.3(4).
 65
    Yanaga, supra note 54, at 4-5; Defendant Toshiba Corporation’s Opposition, supra note 54, at 39.
 66
    FIEA at arts. 21-3, incorporating by reference art. 20; Goto, supra note 4, at 8; Kanda et al., supra note
 23, at 473-5.
 67
    FIEA at arts. 21-3, incorporating by reference art. 20
 68
    Id.

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 to record ownership of stock either via traditional stock certificates or use of an account
 transfer system. 69 Japan maintained a separate system for recording the holding and
 transfer of corporate and government bonds.70 In 2001, Japan adopted its Act on Book-
 Entry Transfer of Corporate Bonds and Shares (“Book Entry Transfer Act”)71 to create a
 unified system for the transfer of corporate and government bonds, as well as shares of
 stock.72

        32.     The new act took effect January 5, 2009,73 and since then all listed stocks are
 traded via Japan’s book-entry transfer system.74 Individual investors open accounts as
 “subscribers” (kanyuusha) with either the transfer institution or an account management
 institution, such as a brokerage and other financial institution, maintaining the investors’
 transaction records.75

        33.    Rights relating to listed securities are then determined by records
 maintained by the book-entry transfer institution or an account management institution.76
 According to the Book-Entry Transfer Act, “[t]he ownership of rights under a share…in
 a company not providing for the issuance of share certificates…which is handled by a
 Book-Entry Transfer Institution… is established by the entries or records in a Book-Entry
 Transfer account register.” 77 A transfer of shares “does not take effect unless the
 transferee has had an entry or recording created in… its account.”78

         34.    Investors retain the ability to exercise their rights as shareholders, by
 authorizing requests to the account management institutions to confirm shareholder
 status. 79 The Book-Entry Transfer Act also creates a right for investors to request from
 the financial institution directly managing their account written confirmation of their
 transactions and holdings.80 The act also establishes a concept of good faith acquisition,




 69
    See ITO, OSUGI, TANAKA, MATSUI, KAISHA HOU 112 (4TH ED. 2018).
 70
    Id.
 71
    English language translation available at
 http://www.japaneselawtranslation.go.jp/law/detail/?ft=2&re=2&dn=1&yo=Act+on+Book-
 Entry+Transfer+of+Corporate+Bonds+and+Shares&x=0&y=0&ia=03&ja=04&ph=&ky=&page=2
 72
    ITO, OSUGI, TANAKA, MATSUI, KAISHA HOU 112 (4TH ED. 2018).
 73
    Id.
 74
    NAOHIKO MATSUO, KINYUU SHOUHIN TORIHIKI HOU 567 (6th ed. 2020).
 75
    Id. at 568-9.
 76
    Book Entry Transfer Act, art. 128; KENJIRO EGASHIRA, KABUSHIKI KAISHA HOU 173 (7th ed., 2017);
 Naohiko Matsuo, supra note 74, at 567.
 77
    Book Entry Transfer Act, art. 128.
 78
    Id. at art. 140.
 79
    See, e.g., EGASHIRA, supra note 76, at 173-176, 191-202; ITO ET AL., KAISHA HOU 113, 115 (4TH ED.
 2018).
 80
    EGASHIRA, supra note 76, at 202; Book Entry Transfer Act, art. 277

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 which assumes that the account information and corporate registry may not always
 reflect the true ownership of the shares.81

        35.     With regard to claims for damages pursuant to the FIEA, the focal point is
 consistently on the “investor” (toushika)82 who “sustains losses” as a result of purchasing
 shares at a price inflated by a false statement, etc., and the sellers who “sustain losses” as
 a result of their selling shares at a price deflated by a false statement, etc. 83 Scholars note
 that FIEA Art. 21-2 is structured so as to provide a remedy for misleading statements
 made in documents “in the eyes of the investor.” 84 Liability is defined in terms of
 “damages suffered by persons,” without reference to whether the shares were nominally
 held via a broker or other financial institution. 85

        36.    This scholarship is consistent with the purpose of the FIEA, which is “the
 protection of investors in the capital markets and the protection of the functioning of the
 capital markets.”86 The former is important in understanding the purpose of FIEA Art.
 21-2, which scholars describe as providing a remedy for persons who acquired or sold
 securities based on market prices influenced by misleading statements made by the
 issuer.87

        37.   Japan’s Supreme Court acknowledges this investor protection focus:
 “Article 21-2 of the Act is understood as an exceptional rule for general tort law
 established to mitigate the investor’s burden of proof of their damage, from the
 perspective of investor protection.”88

        38.    This interpretation is consistent with the Supreme Court’s broad definition
 of standing to sue in contract and tort. In a leading case, Japan’s Supreme Court set out
 a standard for determining “plaintiff’s standing to sue” (genkoku tekikaku) for claims
 sounding in tort and contract:




 81
    Book Entry Transfer Act, art. 144. TERUHIRO OZAKI, CHIKUJOU KAISETSU SHIN SHASAI, KABSHIKI
 NADO FURIKAE HOU      179 (2006)
 82
    See, e.g., Kawachi, supra note 56, at 62-101 (2019)(referring consistently to damages suffered by the
 “investor”)
 83
     KURONUMA, supra note 16, at 237.
 84
    YAMASHITA & KANDA, supra note 54, at 219.
 85
    HIDEKI KANDA ET AL., supra note 14, at 459, 469.
 86
    Juristo Panel Discussion, Kinyuu Shouhin Torihiki Hou—Jitsumujou no Kadai to Tenbou, supra note
 15, at 4 (quoting Prof. Hideki Kanda).
 87
    YAMASHITA & KANDA, supra note 54, at 220.
 88
    See Judgments of the Supreme Court 2010 (Ju) 755, supra note 8, at Main Text Sec. 5.

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         In an action seeking payment of a benefit (kyuufu no uttae), it should be said
         that the person asserting possession of a right to claim payment of that
         benefit for themselves has standing to sue.89

        39.    In the context of investor claims against an issuer based on tort law and the
 predecessor statute to the FIEA, Japanese courts have rejected arguments to exclude
 investor claims where plaintiff did not hold defendant’s shares in their own name. In
 one case, a bank solicited investors in a private placement, based on misleading
 statements regarding bank finances. Defendant bank sought to exclude claims for
 damages by some investors because they were not listed as owners of the shares in
 question on defendant’s shareholder registry. The court rejected defendant’s arguments.
 90


       40.     In doing so, it cited Japan’s Supreme Court precedent regarding
 shareholder rights, which states: “Where a person acquires shares using the name of
 another after having obtained the consent of such other person, it is reasonable to
 understand such situation as the actual acquirer, that is, the name borrower, being the
 shareholder, rather than the name lender, that is the nominee.”91

        41.    Based on this, the court found these plaintiffs entitled to damages for losses
 sustained as result of the bank’s third-party allocation of new shares.92 The court found
 it appropriate to consider the “various circumstances” indicating ownership, including
 who contributed the funds to acquire the shares, the relationship between the parties
 requesting and agreeing to hold shares for another, and the content of the agreement to
 do so. The court held, “[w]ith regard to the shareholder attributes of so-called nominee
 shares, even if they are held in the name of another person, in the event the shares are
 acquired using the name of such person with their permission, it is not the name lender,
 but the actual acquirer who acquires rights” as the shareholder.93 The focus is on the


 89
    Saikousai [Sup. Ct.] Hei 21 (ju) No. 627, Feb, 15, 2011, 1345 HANREI TAIMUZU 129 (2011). Scholars
 similarly acknowledge that “persons asserting that they possess a right to claim in litigation a benefit have
 standing to sue as plaintiff… and the person who is alleged by the plaintiff to owe a duty has standing as a
 defendant.” HIROSHI TAKAHASHI, JUUTEN KOUGI MINJI SOSHOU HOU UE (DAI 2 BAN)[FUNDAMENTALS
 OF CIVIL PROCEDURE VOL. 1] 242 (2nd ed. 2011). The term 給付(kyuufu) encompasses legal concepts
 including performance, payment, delivery, and benefit. See Ministry of Justice, Standard Legal Terms
 Dictionary, (March 2019 Edition), available at
 http://www.japaneselawtranslation.go.jp/dict/download?re=01.
 90
    Kanazawa Dist. Ct. Hei 14 (wa) Nos. 301, 358, 396, 461, 570, Hei 15 (wa) Nos. 99, 305, 591, Hei 16
 (wa) 502, May 22, 2009, at Dai 2.1.(2).
 91
    Saikousai [Sup.Ct.] Showa 42 (o) No. 231, Nov. 17, 1967, 21 MINSHU (No. 9) 2448.
 92
    Kanazawa Dist. Ct. Hei 14 (wa) Nos. 301, 358, 396, 461, 570, Hei 15 (wa) Nos. 99, 305, 591, Hei 16
 (wa) 502, May 22, 2009, at Main Text Paras. 1-8.
 93
    Id. at Ch.4., No. 2, Issue 1. See also Nagoya High Ct, Hei 21 (ne) No. 121, Apr. 27, 2011, at Sec. 3.3
 (court recognizing the “substantive shareholder” (jisshitsu teki na kabunushi) despite changes in
 registered ownership).

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 substantive investor, the party making the investment decision, contributing the funds,
 and bearing the losses.

        42.     In the Olympus securities litigation discussed above, foreign institutional
 investors, including some U.S. institutional investors, filed suit in Japanese courts seeking
 compensation for the misrepresentations in the Olympus securities reports. Newspaper
 reports indicate Olympus settled claims involving eighty-six (86) foreign institutional
 investors for ¥11 billion (approximately $100m). 94 Olympus Corporation disclosures
 separately indicate that it settled claims involving sixty-one (61) investors, including
 foreign institutional investors for ¥4 billion (approximately $36m). 95 The investors
 included, inter alia, the California Public Employees’ Retirement System, Washington
 State Investment Board, the Public Employee Retirement System of Idaho, the Virginia
 Retirement System, Alaska Retirement Management Board, Continental Airlines, Inc.
 Pension Master Trust, Chevron Master Pension Trust, Inter-Local Pension Fund of the
 Graphic Communications Conference of the International Brotherhood of Teamster, The
 Public School Teachers’ Pension and Retirement Fund of Chicago, and the Teacher
 Retirement System of Texas.96

        43.    With regard to the Toshiba litigation arising from its 2015 accounting
 scandal, plaintiffs’ attorneys in Japan report representing numerous individual investors
 who have filed suit against Toshiba97 and courts in Tokyo, Fukuoka, and Takamatsu have
 recently held hearings addressing issues related to damages. 98 Given that all listed
 securities have traded via Japan’s book-transfer system since 2009, one can infer these
 individual investors held their shares via an account management transfer institution.

        44.     Toshiba has also disclosed lawsuits including claims by foreign
 institutional investors, such as the California Public Employees’ Retirement System, as
 well as domestic institutional investors such as Japan Trustee Services Bank.99 Toshiba




 94
    Reuters, Olympus, Kaigai Kikan Toushikara 86 sha to 110 okuen Shiharai de Wakai [Olympus to Pay
 ¥11bn in Settlement with 86 Foreign Institutional Investors], available at
 https://jp.reuters.com/article/oympus-file-idJPKBN0MN11R20150327
 95
    Olympus, Notice Concerning Settlement of Lawsuit for Damages (Dec. 26, 2016), available at
 https://www.olympus-global.com/ir/data/announcement/pdf/td161226e.pdf; Olympus, Songai Baisho
 Seikyuu Soshou Wakai Seiritsu ni Kan Suru Oshirase (Heisei 28.12.26),
 https://www.olympus.co.jp/ir/data/announcement/pdf/td161226.pdf
 96
    Id. at 1.
 97
    Toshiba Jiken Kabunushi Bengodan, http://xn--7rvn38bmne13z.com/ (last visited July 23, 2021).
 98
    Toshiba Jiken Kabunushi Bengodan, http://xn--7rvn38bmne13z.com/blogs/ (last visited July 23, 2021).
 99
    Toshiba, Tousha in Taisuru Songai Baishou Seikyuu Soshou no Teiki ni Kansuru oShirase (Feb. 23,
 2018), available at https://www.toshiba.co.jp/about/ir/jp/news/20180223_1.pdf;
 https://www.toshiba.co.jp/about/ir/jp/news/20161013_1.pdf.

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 recently announced an ¥820m settlement with plaintiffs that included the Japan Trustee
 Services Bank.100

        45.     Japan Trustee Services Bank was also a named plaintiff in the June 13, 2008
 Tokyo District Court decision cited by Defendant’s declarant, Professor Iida.101 In that
 case, the court awarded damages, based on violation of FIEA Art. 21-2, to institutional
 investors, including insurance companies and institutional investors managing assets on
 behalf of pension funds. 102 These were trustees making investment decisions and
 investing assets. They were not merely acting as custodians processing transactions. In
 awarding damages to these investors, the court examined information important to the
 “investor’s investment decision.”103 As before, the focus is on the investors who made
 the decision to invest and suffered the losses, not the party who processed the transaction.

        46.    In summary, Japan has for decades permitted investors to hold shares via a
 book-entry transfer institution, yet they continue to exercise their legal rights as investors
 and shareholders. This includes U.S. institutional investors, including pension and
 retirement funds, similarly situated to the plaintiffs in this case. Given the FIEA’s goal,
 “the protection of investors,”104 and FIEA Article 21-2’s purpose, to reduce the burden of
 proof for investors and provide a remedy for misrepresentations made in disclosures
 reviewed by investors, the Japanese courts focus on the substantive investor, the person
 actually acquired the shares.”105 The focus is on the investor, not the processing agent, in
 determining standing to sue.



                              F. Class & Quasi-Class Actions in Japan




       47.    The Japanese courts have long used joinder procedures to try fraud, labor
 law, products liability, and environmental claims involving large numbers of plaintiffs.


 100
     Toshiba, Kaikai Shori Mondai ni Kakawaru Songai Baisho Seikyuu Soshou no Wakai ni Kansuru
 Oshirase (July 8, 2021), available at https://www.toshiba.co.jp/about/ir/jp/news/20210708_1.pdf;
 Toshiba, (Update) Notice Regarding Settlement of Litigation for Compensatory Damages in Relation to
 Accounting Issue (July 8, 2021), available at https://www.toshiba.co.jp/about/ir/jp/news/20210708_1.pdf.
 101
     See Tokyo Dist. Ct. Heisei 20.6.13, 1294 HANREI TAIMUZU 119 (June 15, 2009); Defendant Toshiba
 Corporation’s Opposition to Plaintiffs’ Motion for Class Certification, Exhibit, 3, Japanese Law Opinion
 of Hidefusa Iida, at 4.
 102
     See Tokyo Dist. Ct.. June 13, 2008, 1294 HANREI TAIMUZU 119, 123-126 (June 15, 2009).
 103
     Id. at 144-8.
 104
     FIEA art. 1; Juristo Panel Discussion, Kinyuu Shouhin Torihiki Hou—Jitsumujou no Kadai to Tenbou,
 supra note 15, at 4 (quoting Prof. Hideki Kanda).
 105
     Kanazawa Dist. Ct., Hei 14 (wa) Nos. 301, 358, 396, 461, 570, Hei 15 (wa) Nos. 99, 305, 591, Hei 16
 (wa) 502, May 22, 2009, at Dai 2.1.(2).

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 In some cases, over 10,000 plaintiffs are involved.106 English language sources describe
 these cases as “collective actions,”107 and note that “collective action mechanisms have
 played a significant role in settling disputes with… thousands of plaintiffs.”108

         48.    Investors in Japan alleging violations of the FIEA commonly join together
 in collective actions filed in the Japanese courts, in what has been described by a leading
 Japanese securities law scholar as “quasi-class actions”.109

        49.     According to a Japanese Securities Research Institute report, the Livedoor
 securities fraud litigation referenced above involved 3,782 investors, seeking over ¥38.6
 bn (approximately $350 million).110 The report indicates that plaintiffs, alleging damages
 arising from the filing of fraudulent securities, pursued five separate cases. They
 included those filed by institutional and large investors and those filed by smaller
 investors in “quasi-class actions.” 111 According to the report, the largest “quasi-class
 action” involved 3,345 plaintiffs, the second 409, and the last twenty.112

       50.     The report indicates that in the Toshiba securities litigation currently
 underway in Japan plaintiffs similarly include institutional and large investors filing
 separate actions, and “quasi-class actions” involving numerous plaintiffs.113 Investors

 106
     Daisuke Oda & Aruto Kagami, Class/collective actions in Japan: overview, PRACTICAL LAW ON
 WESTLAW Sec. 1 (Aug. 1, 2015). One company reports data breach litigation involving over 10,000
 plaintiffs seeking damages resulting from disclosure of personally identified information. See
 https://www.benesse.co.jp/customer/bcinfo/01.html; https://www.businesslawyers.jp/articles/253.
 Newspapers report mass actions seeking damages arising from the Fukushima nuclear meltdown
 exceeding 10,000 plaintiffs. Fukushima Dai Ichi Genpatsu Jiko no Shudan Baishou Soshou, Genkoku 1
 Man Nin Kibou ni, ASAHI SHINBUN (May 5, 2015).
 107
     Code of Civil Procedure Article 38 (Requirements for Joint Litigation) provides: “If rights or
 obligations that are the subject matter of litigation are common to two or more persons or are based on the
 same factual or statutory causes, these persons may sue or be sued as co-litigants. The same applies if
 rights or obligations that are the subject matter of litigation are of the same kind and based on the same
 kind of factual or statutory causes.” Available at
 http://www.japaneselawtranslation.go.jp/law/detail/?ft=2&re=2&dn=1&yo=Civil+Procedure&x=0&y=0
 &ia=03&ph=&ky=&page=5.
 108
     Oda & Kagami, supra note 106, at 1.
 109
     See Goto, supra note 4, at 20-24, Table 2; Japan Securities Research Institute, FIEA Research Group,
 Ryuutsuu Shijou no Toushika ni your Hakkou Kaisha ni Taisuru Shouken Soshou no Jittai [The Actual
 State of Securities Litigation Against Issuing Companies by Investors in the Secondary Market], 14-18,
 Hyou 3 (Feb. 1., 2017), available at http://www.jsri.or.jp/publish/record/pdf/060.pdf.
 110
     Japan Securities Research Institute 2017 Report, supra note 109, at Chart 3. See also Tokyo Dist. Ct.,
 May 21, 2009, 1306 HANREI TAIMUZU 124 (Livedoor case).
 111
     Japan Securities Research Institute 2017 Report, supra note 109, at Chart 3.
 112
     Id.; The Tokyo District Court decision dated May 21, 2009 collectively resolved the claims of 3,340
 plaintiffs. See Tokyo Dist. Ct. May 21, 2009, Heisei 18 (wa) No. 11635, Heisei 18 (wa) N. 14512, Heisei
 18 (wa) No. 11635, Heisei 18 (wa) No. 14512, Heisei 18 (wa) No. 19657, Heisei 18 (wa) No. 28790,
 Heisei 19 (wa) No. 12156, 1306 HANREI TAIMUZU 124.
 113
     Japan Securities Research Institute 2017 Report, supra note 109, at Chart 3.

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 have also pursued “quasi-class actions” in Japan seeking damages from the filing of
 misleading securities reports in the Seibu Railways litigation, the Olympus litigation, the
 IHI litigation, and the Urban Corporation litigation.114

        51.    In contrast to “quasi-class actions,” formal class actions are relatively new.
 A 2013 statute permits “specified qualified consumer organizations” (SQCOs) approved
 by the Prime Minister’s Office, to seek relief, including injunctive relief, on behalf of a
 class of consumers “for claims arising from consumer contracts and certain categories of
 property damage.”115

       52.     The act establishes a bifurcated procedure where an approved consumer
 organization first seeks declaratory judgment to establish liability for breach of a
 consumer contract involving “common obligations.” 116 Individual consumers are
 prohibited from intervening in this action, even if they have a legal interest in the result.117

        53.    If the qualified consumer organization succeeds as plaintiff in the initial
 action, the consumer organization then petitions the court to determine damages.118 If
 the court grants the petition, plaintiff must individually notify all known consumers with
 contractual rights at issue, in writing or electronically, and inform potential class
 members of the court’s findings and the means by which they may participate. 119
 Plaintiffs may request defendant provide contact information for the target consumers to
 effectuate notice.120 Plaintiff must also give public notice, by a reasonable method, and
 may request defendant do the same.121 Consumers may then opt-in to participate in
 simplified court proceedings to determine damages by authorizing the plaintiff
 consumer organization to proceed on his or her behalf.122

        54.   Claims based on FIEA Article 21-2 are outside the limited scope of the new
 statute. The Consumer Affairs Agency, scholars, and practitioners agree that claims for

 114
     Id.
 115
     Shōhisha no zaisan-teki higai no shūdan-tekina kaifuku no tame no minji no saiban tetsudzuki no
 tokurei ni kansuru hōritsu [Act on Special Measures Concerning Civil Court Proceedings for the
 Collective Redress for Property Damage Incurred by Consumers] Act No. 96 of 2013, art. 3, available at
 available at http://www.japaneselawtranslation.go.jp/law/detail/?id=2727&vm=04&re=01. See also Oda
 & Kagami, supra note 106, at 1.
 116
     Id.
 117
     Id. at Art. 8.
 118
     Act on Special Measures Concerning Civil Court Proceedings for the Collective Redress for Property
 Damage Incurred by Consumers, arts. 12-18. See also Consumer Affairs Agency, Shouhisha no Zaisan
 teki Higai no Shuudan teki na Kaifuku notame no Minji no Saiban Tetsuduki no Tokurei ni kansuru
 Houritsu nit suite, available at
 https://www.caa.go.jp/policies/policy/consumer_system/collective_litigation_system/about_system/act_o
 n_special_measures/pdf/130419-0_131213.pdf.
 119
     Id. at 25.
 120
     Id. at 28-29
 121
     Id. at 26 & 27.
 122
     Id. at 30-34.

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 damages arising from misrepresentations in annual securities reports are not subject to
 the new class action act, because such a claim does not arise from a contractual
 relationship between the consumer and the issuer.123 At the same time, the act is not
 intended to preclude investors from seeking relief under the FIEA.124

        55.    In short, as Defendant’s Rule 44.1 declarant Takafumi Okuda notes, Japan
 has made a procedural choice to establish a class action-type procedure for consumer
 contract actions that requires a representative consumer organization provide notice to
 the class of a finding of liability and the ability to participate in proceedings awarding
 damages. At the same time, Japan commonly utilizes its joinder rules to create and
 resolve claims involving thousands of plaintiffs in “quasi-class actions,” including
 investors seeking a remedy pursuant to FIEA Article 21-2.



                          G. The Validity of Foreign Judgments in Japan


         56.    Declarant Okuda emphasizes Japan’s “fundamental principle of private
 autonomy” in defining authority to sue and Japanese law strictly limiting representative
 litigation and requiring affirmative authorization.125 The suggestion is that class actions
 in the United States violate these principles and may cause a Japanese court to refuse to
 recognize a judgment by a United States court in a class action.126
         57.    Res judicata principles in Japan generally do bind only the parties to the
 litigation, and their appointed representatives, successors, and persons in possession of
 the subject matter of the claim.127 And Japan generally does require express authorization
 for a party to pursue litigation on behalf of another.128
         58.    Japan, however, recognizes various exceptions to these general principles.
 Japanese statutes provide that decisions regarding personal status or the organization of

 123
     Hiroyasu Nakata, Shōhisha Saiban Tetsuzuki Tokurei-hō no Kyōtsū Gimu Kakunin no Uttae no Taishō,
 available at https://www.zenginkyo.or.jp/fileadmin/res/abstract/affiliate/kinpo/kinpo2014_2_7.pdf.
 124
     “In laws such as the Financial Instruments and Exchange Act, the Financial Products Sales Act, the
 Insurance Business Act, and the Antimonopoly Act, with regard to tortious conduct, there are special
 rules regarding proof of negligence, presumption of damages and the like, and there are special rules by
 which employer liability may be established or confirmed.” Consumer Affairs Agency, Shouhisha
 Saiban Tetsuduki Tokurei Hou Q&A, Q21 at p. 27 available at
 https://www.caa.go.jp/policies/policy/consumer_system/collective_litigation_system/about_system/act_o
 n_special_measures/pdf/qa-all.pdf.
 125
     Defendant Toshiba Corporation’s Opposition to Plaintiffs’ Motion for Class Certification, Exhibit, 1,
 Japanese Law Opinion of Takafumi Okuda, at 4-5.
 126
     Id. at 3-4.
 127
     SHIN KIHON HOU KONMENTA-RU MINJI SOSHOU HOU 295-321 (Bessatsu Hougaku Seminar No. 256,
 2018).
 128
     Id. at 314.

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 a company will bind third parties.129 Judgments revoking an administrative disposition
 will bind third parties.130 Various Japanese statutes authorize third parties to “direct’
 litigation on behalf of, and bind, non-parties.131
         59.     Japanese courts have also held that, even absent statutory authorization,
 plaintiff(s) may direct litigation on behalf of others.132 The courts recognize standing for
 a plaintiff to act as representative plaintiff or a “voluntary litigation charge” (nini teki
 soshou tantou) where the parties possessing the rights in question authorize representative
 plaintiff(s) and there is a “reasonable basis” for permitting another to direct the
 litigation.133 Those represented by this “voluntary litigation charge,” while not parties to
 the suit are bound by its outcome.134
         60.     Japan’s Supreme Court has established two requirements for this type of
 representative litigation: first, that appointing plaintiff(s) to act on behalf of others will
 not circumvent regulations regarding attorney representation and prohibition of
 litigation trusts.135 To ensure this, the courts have required that the plaintiff(s) entrusted
 to direct the litigation have been conferred the authority to do so and they share common
 interests with those whose interests they represent.136 Second, the courts have required
 that the appointment of a plaintiff to direct litigation will facilitate the realization of rights,
 such as where there are numerous potential plaintiffs; or the litigants are foreigners
 making pursuing litigation in Japan difficult; or one party has previously assumed an
 obligation to act on behalf of others to protect the rights in question.137
         61.     Japan’s Supreme Court has found that an “implied” authorization to
 pursue litigation may be sufficient for a party to act as a “voluntary litigation charge.”138
 Express authorization is not always required.139

 129
     Id. at 319. See, e.g., Personal Status Litigation Act Law Act No. 109 of 2003, art. 24(1); Companies
 Act, Law No. 86 of 2005, arts. 838, 828, & 834.
 130
     Administrative Case Litigation Act, Law Act No. 139, arts. 32(1).
 131
     Personal Status Litigation Act Law No. 109 of 2003, arts. 12 & 14; Bankruptcy Act, Law No. 75 of
 2004, arts. 78, 80; Act on Recognition of and Assistance for Foreign Insolvency Proceedings, Law No.
 129 of 2000, art. 26(1); Civil Code, Law No. 89 of 1896, art. 1012.
 132
     ITO MAKOTO, MINJI SOSHOU HOU [CODE OF CIVIL PROCEDURE] 203-206 (7th ed. 2020).
 133
     Ito, supra note 132, at 203-5; Takuya Hatta, Gaikoiku Kokka Hakkou (Soburin) no Endate Saiken
 (Samurai Sai) no Shoukan Seikyuu Soshou ni okeru Saiken Kanri Kaisha no Nini Teki Soshou Tantou no
 Kyoyousei-Sainishohan Heisei 28.6.2 Kentou [Allowability of a Voluntary Litigation Charge of a Bond
 Management Company in Proceedings for the Redemption of JPY-Denominated Bonds (Samurai Bonds)
 Issued by a Foreign State (Sovereign)—Consideration of the Decision of the Second Petty Bench of the
 Supreme Court of June 2, 2016], 2064 KINYUU HOUMU JIJOU 42 (Apr. 25, 2017); Saikousai [Sup.Ct],
 Nov. 11, 1970, 24 MINSHU (12) 1854.
 134
     Ito, supra note 132, at 199-200; Saikousai [Sup. Ct.], Hei 23 (ju) No. 2196, Feb. 27, 2014; Saikousai
 [Sup. Ct.], Dec. 20, 1985; Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014.
 135
     Ito, supra note 132, at 203; Saikousai [Sup.Ct], Nov. 11, 1970, 24 MINSHU (12) 1854.
 136
     Ito, supra note 132, at 204.
 137
     Id.
 138
     See, e.g., Hatta, supra note 133, at 42. Shoichi Tagashira, Hanrei Kuro-zu Appu, 436 HOUGAKU
 KYOUSHITSU 42, 47 (Jan. 2017); Saikousai [Sup.Ct], June 2, 2016, 70 MINSHU (5) 1157.
 139
     See, e.g., Tagashira, supra note 138, at 42, 47; Saikousai [Sup.Ct], June 2, 2016, 70 MINSHU (5) 1157.

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        62.     In one recent decision, the Supreme Court found investment banks had
 standing to sue on behalf of investors after default by a sovereign bond issuer. In this
 case, three banks contracted to manage yen-based sovereign bond offerings by the
 Argentine Republic.140 After the banks placed the bonds with brokerages that then sold
 them to individual investors, Argentina defaulted.141 The banks filed suit on behalf of
 the investors, pursuant to a contract between the issuer and the banks that reserved to
 the banks the right to pursue legal action on behalf bond holders. The banks also
 published notices in newspapers and via the internet advising the bond holders of their
 right to sue.142 The courts found no direct contract between the managing banks and the
 investors, and those who held the bonds remained unidentified.143 Rather it was the bond
 summary and prospectus, reviewed by some but not all investors, that the banks alleged
 authorized this delegation of authority to sue.144
        63.     A Tokyo District Court and High Court found this insufficient for the banks
 to represent the bond purchasers in litigation. 145 They rejected claims that implicit
 authorization was enough. 146 Given the potential conflicts of interest between banks
 managing a bond offering and investors purchasing the bonds,147 given the absence of
 regulations protecting the non-party investors, and given the preclusive effect of any
 judgment obtained by the banks, both courts required a clear manifestation of intent by
 the investor to act as beneficiaries in the litigation brought by the banks. The courts found
 no such clear intent, and they went on to find no “reasonable basis” for allowing the
 banks to act as plaintiffs on behalf of individual bond investors because the amount in
 controversy was sufficient to support individual lawsuits by the bondholders.148 They
 dismissed the case.149


 140
     Saikousai [Sup.Ct], June 2, 2016, 70 MINSHU (5) 1157.
 141
     Hatta, supra note 133, at 39.
 142
     Tokyo Dist. Ct., Hei 21 (wa) No. 21928, Jan. 28, 2013; Hatta, supra note 133, at 40.
 143
     Hatta, supra note 133, at 44-5. Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014; Tokyo Dist. Ct.,
 Hei 21 (wa) No. 21928, Jan. 28, 2013.
 144
     Hatta, supra note 133, at 39 & 45.
 145
     Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014; Tokyo Dist. Ct., Hei 21 (wa) No. 21928, Jan. 28,
 2013.
 146
     Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014.
 147
     Apart from the bank’s contract to manage the sovereign bond offering and fees received for such
 services, the banks contracted to advise defendant regarding the offering and defendant agreed to
 reimburse expenses and indemnify the banks for any damages and costs. Following default, two of the
 three banks were also involved in an “exchange offering” where the defaulting issuer solicited investors
 to exchange the bonds in question for newly issued bonds. See Tokyo High Ct, Hei 25 (ne) No. 998, Jan.
 30, 2014; Hatta, supra note 133, at p. 40-41. The Tokyo District Court found both structurally and, in
 fact, a lack of common interests between the managing banks and the bond holders, abundant conflicts of
 interest, and a lack of investor protection regulations to address these conflicts.
 148
     Hatta, supra note 133, at 40-41; Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014; Tokyo Dist. Ct.,
 Hei 21 (wa) No. 21928, Jan. 28, 2013.
 149
     See Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014; Tokyo Dist. Ct., Hei 21 (wa) No. 21928, Jan.
 28, 2013.

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         64.    The Supreme Court reversed. Japan’ Supreme Court found an implied
 authorization by the bond investors to the banks managing the bond offering sufficient.
 The court found the contract between the banks and the issuer a contract for the benefit
 of a third party and its terms akin to those used in domestic bond issuances, such that the
 terms of the contract “met the reasonable intention of the bond, etc., holders,” and this
 provided a basis to infer the investor’s authorization.150
         65.    In doing so, the Supreme Court found it unreasonable to expect that
 individual investors could adequately protect their rights. “[B]ecause the bonds had been
 issued to a large number of the members of the general public, it cannot reasonably be
 expected for bond, etc., holders to exercise their rights appropriately” in the event of a
 default. The court went on to find that the relationship between the managing banks and
 investors was structured similarly to entities managing regulated corporate bond
 offerings and the banks were regulated entities.151 According to Japan’s Supreme Court,
 while there was the possibility of an “abstract” conflict of interest between the banks and
 the bond holders, one could expect that the banks would appropriately exercise their
 rights to pursue litigation on behalf of the bonder holders in light of the banks’ duty to
 act in good faith and exercise due care. As a result, the court found no latent risk of a
 violation of attorney representation regulations or the prohibition against litigation trusts,
 and the court found a “reasonable need” to recognize parties to lead the litigation in this
 case.
         66.    Scholars note two important points about this decision. First, for a litigant
 to represent another party in litigation, Japan’s Supreme Court “does not require the
 existence of actual authorization by the holder of the rights.” 152 Second, in deciding
 whether there is a “reasonable necessity” for recognizing a representative plaintiff to
 direct the litigation, the Japanese Supreme Court focuses on whether the litigant can be
 expected to “appropriately exercise” the “right to prosecute the litigation” on behalf of
 the original holder of the rights.”153 The focus is on whether there is “a mechanism to
 protect the interests of the person giving charge.” 154 Scholars note that the Supreme


 150
     Saikousai [Sup. Ct.], Hei 26 (ju) No. 949, June 2, 2016, Riyu Part 4.
 151
     The courts and scholars note important differences between the banks managing the sovereign bond
 issuance here and those managing domestic bond offerings regulated by Japan’ Commercial Code:
 including, e.g., if a management company pursues litigation on behalf of investors following a domestic
 bond offering and there is a conflict of interest, a special representative may be appointed. Hatta, supra
 note 133, at 43. The court may dismiss the bond management company. Id. Investors have a right to
 inspect the management company’s operations and finances to ensure the appropriate exercise of the
 rights. Id. There are specific notice requirements to bond holders regarding rights to claim payment.
 And there is a recognized right to claim damages for a breach of good faith or the duty to care. Id. None
 of those investor protections existed in this case where the Supreme Court recognized the banks as
 voluntary litigation directors. Tokyo High Ct, Hei 25 (ne) No. 998, Jan. 30, 2014.
 152
     Hatta, supra note 133, at 43; Saikousai [Sup. Ct.], Hei 26 (ju) No. 949, June 2, 2016, Riyu Part 4.
 153
     Id.
 154
     Id. Scholars have criticized the Supreme Court’s decision finding that there is more than an abstract
 risk of a conflict of interest between the managing banks and the investors. The banks may directly

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 Court’s decision can be said to “greatly ease” the authorization requirement for a party
 to act on behalf of another in litigation and bind that absent party.155 While some scholars
 and one lower court decision suggests the decision’s scope as binding precedent is
 narrow, scholars have acknowledged that the Supreme Court’s decision reasoning could
 be broadly applied and provides “ample space” to affirm an “opt-out” method for
 recognition of a representative party to direct litigation.156
         67.     In short, Japanese statutes recognize exceptions to the general principle that
 a final judgment binds only the parties to the judgment and express authorization is
 required for representative litigation. And Japan’s Supreme Court recognizes that an
 “implied” authorization to sue on behalf of another may be sufficient. Understanding
 that Japan’s Supreme Court has acknowledged that individual investors cannot expected
 to adequately protect their rights and this supported recognition of representative
 plaintiffs, is important in evaluating the hypothetical willingness of a Japanese court to
 recognize a foreign judgment involving a representative plaintiff in a class action in the
 United States.



                                    H. Foreign Judgments in Japan


         68.    As far back as 1926, Japan’s Code of Civil Procedure has provided for the
 recognition of foreign judgments. 157 In its current form, adopted as part of the 1996
 revisions to the Code of Civil Procedures, Article 118 recognizes the validity of a “final
 and binding judgment rendered by a foreign court” if it meets four requirements: (1) “the
 jurisdiction of the foreign court is recognized” pursuant to law; (2) “the defeated
 defendant has been served…with the requisite summons or order for the commencement
 of litigation”; (3) “the content of the judgment and the litigation proceedings are not


 compete with the investors if they acquire bonds as payment of their service fees, and if banks lost at trial,
 the preclusive effect of that adverse judgment would extend to the investors. Id.
 155
     Id. at 47.
 156
     Id. at 47. Some scholarship continues to cite older Supreme Court precedent, from 1985, for the
 proposition that the case law has rejected standing arguments for third parties who have not expressly
 received authorization from the right holder. See Ito, supra note 132, at 205, citing Saikousai [Sup.Ct.]
 Shouwa Dec. 20, 1985, 1181 HANJI 77 (rejecting standing of resident to sue as a representative plaintiff
 on behalf of other local residents in environmental suit against power plant seeking injunctive relief
 where plaintiff was without a statutory or express grant of authority to do so.). A Tokyo District Court
 decision has also declined to relax the requirements for express authorization of a representative plaintiff
 in a case involving plaintiffs in an uncertified class action in the U.S. Tokyo Chisai [Tokyo Dist. Ct.],
 Hei 30 (wa) No. 14430, Feb. 28, 2019 (rejecting claims by a putative plaintiff in an unfair competition
 class action to intervene as a representative plaintiff of the not-yet certified class in restructuring
 proceedings filed in Japan by defendant pursuant to Japan’s Civil Rehabilitation Act.)
 157
     Masashi Kamitani, Nihon ni Okeru Gaikoku Hanketsu Shounin Shikkou Seido no Kisou Kaitei to
 Doitsu Hou, 53 SEINAN DAIGAKUIN DAIGAKU HOUGAKU RONSHUU (1) 92（Sept. 2020）.

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 contrary to public policy in Japan”; and (4) there is “a guarantee of reciprocity” between
 Japan and the foreign jurisdiction.158
        69.    In determining whether a “final and binding judgment” was rendered by a
 foreign court, respected civil procedure scholars in Japan summarize Japanese law by
 simply stating it is determined by the law of the foreign jurisdiction: “it is acceptable so
 long as the final judgment is in accordance with such foreign civil procedure law, and it
 is no hindrance even if the final judgement is not recognized by the civil procedure law
 of Japan.”159
        70.    This deference to the law of the foreign jurisdiction extends to other
 procedural matters, including issues regarding the preclusive effect of the judgment:

        Matters like between whom and whom the foreign final judgement is
        effective, whether it is only effective with respect to what is in the orders or
        also the decision in the reasons, and whether the effect is res judicata, and
        whether the effect is a broad effect or narrow effect, none of these are
        established by the Japanese procedural law, all are established by the
        procedural laws of the foreign country.160

         71.    In examining other procedural issues, including whether a foreign court
 had jurisdiction over the matter, Japan’s Supreme Court has adopted a “slightly more
 flexible” standard than the common doctrinal formulations.161 The Supreme Court has
 emphasized that “it is appropriate to decide based on reason,” defined by principles
 ensuring fairness between the parties and a fair and speedy trial.162 The Supreme Court
 examines Japan’s jurisdictional rules but it also examines the specific facts of the case and
 decides “in light of reason” whether the trial court had jurisdiction.163
         72.    In determining, whether the “defeated defendant has been served… with
 the requisite summons or order, “pursuant to Article 118(2), Japan’s Supreme Court
 emphasizes: “it is not necessary that the summons or order comply with Japanese law,
 but it must allow the defendant to have actual knowledge of the beginning of litigation
 proceedings and be such as to not hinder the exercise of his rights of defense.”164
         73.    The Japanese Supreme Court focuses on actual notice. In a case where
 plaintiff failed to provide service of process as provided by treaty, the court found a
 failure to comply with the service requirements of Article 118, but because defendant was,
 in fact, “provided with an opportunity to defend and took measures to defend itself in

 158
     Code of Civil Procedure. Art. 118(i)-(iv).
 159
     MIKIO AKIYAMA ET AL, KONMENTA-RU MINIJ SOSHOU HOU II [“COMMENTARY ON THE CODE OF
 CIVIL PROCEDURE II ] 512 (2nd ed. 2006).
 160
     Id.
 161
     Id. at 514; Saikousai [Sup. Ct.] Oct. 28, 1998, 52 MINSHU (3) 853.
 162
     Saikousai [Sup. Ct.], Hei 6 (o) No. 1838, Oct. 28, 1998, 52 MINSHU (3) 853.
 163
     Id.; Saikousai [Sup. Ct.] Hei 23 (ju) No. 1781, Apr. 24, 2014.
 164
     Saikousai [Sup. Ct.] Apr. 28, 1998, 52 MINSHU (3) 853. AKIYAMA ET AL, supra note 159, at 514.

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 court,” the court found Article 118(2) satisfied.165 Ministry of Justice research materials
 state that the purpose of this requirement is to ensure the defendant had the opportunity,
 under the applicable procedural rules, to protect his interests from the beginning of the
 litigation.166
         74.    Following the 1996 amendments, the statute’s third requirement, that the
 judgment not violate Japan’s public policy, has both a substantive and procedural
 requirement. 167 To recognize the validity of a foreign judgment, the “content of the
 judgment” and the “litigation proceedings” may not be contrary to the public policy of
 Japan.168
         75.    Defendant’s declarant Okuda suggests a court in Japan hypothetically
 could find that a judgment by a U.S. court in a class action violates the procedural
 requirements of Article 118. 169 Civil Procedure scholars in Japan emphasize that the
 procedural requirement in Article 118 is intended to guarantee a neutral forum, due
 process, and a right to hearing, as well as to prevent recognition of judgments obtained
 by fraud or resulting from clear instances of judicial impropriety or bias.170 Ministry of
 Justice research materials state that notice to the defendant at the beginning of the lawsuit
 as required by Article 118(2) is insufficient to ensure procedural fairness and Article
 118(3)’s “procedural public policy” clause was intended to address instances, for example,
 were foreign judgments were obtained as a result of serious fraud or duress in the
 litigation proceedings.171
         76.    Japanese courts have affirmed that judgments obtained via summary
 judgment procedures do not violate Article 118(3)’s procedural public policy
 requirement,172 nor do default judgments as a discovery sanction.173 The Japanese courts
 have also held that an award of litigation costs, including attorneys’ fees, is “an issue for
 each country’s legal system” and does not violate Article 118(3)’s public policy provision,


 165
     Saikousai [Sup. Ct.] Apr. 28, 1998, 52 MINSHU (3) 853.
 166
     Ministry of Justice, Kokusai Saiban Kankatsu Housei (Jinji Soshou Jiken Oyobi Kaji Jiken Kankei),
 Bukai Shiryou 6-2 Kentou Kadai – Gaikoku Saibansho no Saiban no Shouhin, Shikkou no Kiritsu no
 Arikata, at 7. http://www.moj.go.jp/content/001128128.pdf. See also AKIYAMA ET AL, supra note 159,
 at 515. Scholars describe this a “rule protecting a defendant who lost without the opportunity to defend.”
 SHIN KIHON HOU KONMENTA-RU MINJI SOSHOU HOU, supra note 127, at 327.
 167
     Kamitani, supra note 157, at 99.
 168
     Id.
 169
     Defendant Toshiba Corporation’s Opposition to Plaintiffs’ Motion for Class Certification, Ex. 1,
 Japanese Law Opinion of Takafumi Okuda, at 1-3.
 170
     AKIYAMA ET AL, supra note 159, at 518; Kamitani, supra note 157, at 99; SHIN KIHON HOU
 KONMENTA-RU MINJI SOSHOU HOU, supra note 127, at 328.
 171
     Ministry of Justice, Kokusai Saiban Kankatsu Housei, supra note 166, at 10.
 172
     AKIYAMA ET AL, supra note 159, at 518 (2006); Tokyo Dist. Ct., Hei 6 (wa) No. 5386, Feb. 5, 1998, at
 Sec. 3.2.3.
 173
     AKIYAMA ET AL, supra note 159, at 518; Mito Dist. Ct., Hei 9(wa) No. 35, Oct. 29, 1999 at Sec. 3.42
 (permitting enforcement of default judgment by US court entered as a discovery sanction after Japanese
 court found defendants were “afforded procedural guarantees to protect their litigation interests from the
 filing of the foreign proceedings to the finalization of the proceedings”).

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 even if Japanese law differs.174 In contrast, recognition of a judgment where there was
 deception, e.g. use of a forged marriage registration certificate in obtaining the judgment,
 would violate procedural public policy.175 Enforcement of a default judgment obtained
 without notice of default to the defendant despite the possibility of providing such notice
 similarly violates procedural public policy.176
        77.     This last case, referenced by Defendant’s declarant, without discussion of
 the particulars, is instructive. There, the court found plaintiff originally filed suit in a
 California state court seeking damages, and defendant, by counsel, answered the
 complaint. 177 Defense counsel subsequently withdrew, defendant failed to appear, and
 plaintiff obtained a default judgment. Plaintiff’s counsel then served a copy and notice
 of the default judgment to the wrong address, by regular mail. Defendant did not receive
 notice of the same.178
        78.     When plaintiff attempted to enforce the judgment in Japan, a lower court
 declined to recognize the validity of the California judgement because it conflicted with
 Japan’s rules requiring service of the judgment on a defeated defendant.179 The Supreme
 Court reversed. In determining whether the “litigation proceedings” violated Japan’s
 public policy, it emphasized that “just because the proceedings related to foreign
 judgments include those based on a system not adopted by Japan, it cannot immediately
 be said, based on that, that the above requirement is not satisfied.” 180 Instead, the
 appropriate standard determines whether these procedures are “irreconcilable with the
 basic principles or basic concepts of the legal order of Japan.”
        79.     Japan’s Supreme Court focused on whether the defendant could have been
 informed of the final judgment but was not. The procedural requirements of Article 118
 are violated if:

                notwithstanding that it is possible to cause awareness of the contents
                of a foreign judgement under the litigation procedures pertaining to
                the foreign judgement, a foreign judgement is made final as is
                without providing an opportunity of appeal, due to the litigation
                parties not being made aware of the contents of the foreign
                judgement or not having been substantively given an opportunity to
                be aware of the contents of the foreign judgement.181




 174
     Saikousai [Sup. Ct.], Hei 6 (o) No. 1838, Apr. 28, 1998, at Secs. 4.1, 5.3 and 6.
 175
     AKIYAMA ET AL, supra note 159, at 518; Tokyo Kousai [Tokyo High Ct.], Hei 1 (Ne) No. 1146, Feb.
 27, 1990, at Sec. 3.2.
 176
     Saikousai [Sup. Ct.], Hei 29 (ju) No. 2177, Jan. 18, 2019, at Sec. 4.4.
 177
     Id.
 178
     Id.
 179
     Id. at Sec. 3; Osaka Kousai [Osaka High Ct], Hei 29 (ne) No. 101, Sept. 1, 2017, at Sec. 3.2.
 180
     Saikousai [Sup. Ct.], Hei 29 (ju) No. 2177, Jan. 18, 2019, at Sec. 4.1.
 181
     Id. at Sec. 4.2.

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 The Supreme Court reversed the lower court’s refusal to recognize the foreign judgment
 and remanded for additional fact finding on this point.182

        80.    Examining the principal Japanese judicial decisions applying Article 118 to
 determine the validity of a final judgment rendered by a foreign court ordering payment
 of compensatory damages shows no cases where a Japanese court has refused to
 recognize the validity of a final judgment challenged by a plaintiff.183 A review of the
 Japanese cases challenging the procedural fairness of a foreign judgment shows that
 Article 118 has been interpreted and applied to ensure the procedural rights of a losing
 party.184 For a Japanese court to refuse to recognize a judgment on behalf of a defendant
 who received notice and prevailed in a suit seeking compensatory damages would depart
 from the judicial decisions handed down over the course of the statute’s ninety-five-year
 history.
        81.    In summary, in examining the requirements of Code of Civil Procedure
 Article 118, one finds the scope of res judicata generally “established based on the

 182
     Id.
 183
     MINSOHOU Art. 118(3) MOHAN ROPPOU (Sanseido 2021), citing Saikousai Hei 23 (ju) No. 1781, Apr.
 21, 2014 (affirming jurisdiction of CA court to render a decision in trade secrets case, where plaintiff
 sought to execute judgment in Japan, & remanding to lower court); Tokyo Dist. Ct., Hei 4 (wa) No.
 22558, Jan. 14, 1994 (executing US default judgment in breach of contract case); Saikousai Hei 6 (o) No.
 1838, Oct. 28, 1998 (executing Hong Kong judgment seeking attorneys’ fees); Osaka High Ct, Hei 3 (ne)
 No. 820, Feb. 25, 1993 (declining to execute judgment finding U.S. court did not have jurisdiction over
 Japanese defendant with no place of business in the US in breach of contract case); Tokyo High Ct, Hei 8
 (ne) No. 2484, Sept. 18, 1997 (declining to execute judgment for child support and recognize jurisdiction
 of US court over Japanese father residing in Japan, but served with an English language complaint while
 temporarily visiting the US); Tokyo Dist Ct. Hei Gan Nen (wa) No. 1447, Feb. 18, 1991, affirmed on
 appeal Tokyo High Ct, Hei 3 (ne) No. 703 & 722, June 28, 1993, Sup. Ct., Hei 5 (o) No. 1762, July 11,
 1997 (executing judgment in U.S. breach of contract and fraud case except for punitive damages award);
 Tokyo High Ct, Hei 4 (ne) No. 388, Nov. 15, 1993 (declining to execute US court judgement ordering
 transfer of custody to parent residing in US); Tokyo High Ct., Hei 1 (Ne) No. 1146, Feb. 27, 1990
 (declining to confirm marital status in Japan based on a fraudulently obtained South Korean certificate of
 registration of marriage); Sup.Ct., Hei 18 (kyo) No. 47, Mar. 23, 2007 (declining to order registration of
 birth in Japan recognizing a parent-child relationship for child conceived abroad using assisted
 reproductive technology where doing so conflicted with Japan’s Civil Code); Sup.Ct., Hei 29 (ju) No.
 2177, Jan. 18, 2019 (declining to execute US default judgment where defendant either did not know, or
 was not provided with a substantive opportunity to learn of the judgment and was thus denied an
 opportunity to defend); Sup.Ct., Showa 57 (o) No. 826, June 7, 1982 (defining reciprocity and public
 policy requirements); Nagoya Dist. Ct., Shouwa 56 (wa) No. 3090, Feb. 6, 1987 (permitting enforcement
 of default judgment by German court after finding reciprocity and no violation of Japan’s public policy
 requirement); Tokyo Dist. Ct., Hei 3 (wa) No. 6792, Mar. 12, 1991 (permitting enforcement of US
 judgment for damages after finding reciprocity); Tokyo Dist. Ct., Hei 5 (wa) No. 6229 & 6231, Jan. 31,
 1994 (permitting execution of default judgment by English court in consolidated breach of contract action
 in one case but not another, after finding jurisdictional requirement met in first case but not the second
 and the contract presented no violation of Japan’s “public interest or moral laws”); Osaka High Ct., Hei
 14 (ne) No. 2481, Apr. 9, 2003 (declining to enforce declaratory judgment by the People’s Court of the
 People’s Republic of China regarding investment proceeds after finding no reciprocity).
 184
     Id.

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 procedural law of the foreign country.”185 In examining whether the summons at the
 beginning of the litigation or the procedural rules applicable thereafter violate public
 policy, Japan’s Supreme Court repeatedly states that the question is not whether the
 procedural rules are different from those found in Japan, but whether the recognition of
 a foreign judgment violates, in essence, the due process rights of the defendant.186 The
 statute is intended to “guarantee a neutral forum, due process, and a right to hearing,”
 as well as prevent recognition of judgments obtained by fraud or clear instances of
 judicial impropriety.187



 IV.    CONCLUSION

        82.   In conclusion, as set out above, there are additional legal standards not
 referenced in Defendant’s Opposition to Certification that are relevant to the Japanese
 FIEA and civil procedure issues in this case.

 Signed and attested to subject to the penalties of perjury this 18th day of August, 2021.



                                                   _______________________________________

                                                          Andrew M. Pardieck, J.D., S.J.D.




 185
     AKIYAMA ET AL, supra note 159, at 512
 186
     Id. at 518; Kamitani, supra note 157, at 99.
 187
     AKIYAMA ET AL, supra note 159, at 518 (2006); Kamitani, supra note 157, at 99.

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                        EXHIBIT A
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  ANDREW M. PARDIECK
  Principal                                         Professor of Law
  Japan-America Consulting, L.L.C.                  Southern Illinois University School of Law
  3742 E. Villa Glen Ct.                            1150 Douglas Drive
  Bloomington, IN 47401                             Carbondale, Illinois 62901
  TEL: 812-498-4349                                 Tel. 618-536-8325
  EMAIL: andrew@japanamericaconsulting.com          Email. apardieck@law.siu.edu




                                  Academic Background

  Hokkaido University School of Law                                                    法学博士
  Ph.D. (S.J.D. equivalent); Japanese Ministry of Education Scholarship Recipient; Itoh
  Scholarship Foundation Recipient.

  Indiana University School of Law                                                         J.D.
  Magna Cum Laude; Order of the Coif; Dean’s List: Admitted to the Indiana Bar.

  Harvard College                                                                          A.B.
  Magna Cum Laude; Dean’s List; Harvard College Scholarship Recipient.


                                     Work Experience
  Southern Illinois University School of Law                                   Professor of Law
  Teach Civil Procedure I & II, Remedies, eDiscovery, and Legal Globalization & Comparative
  Law courses. Research and write in the areas of U.S. civil procedure, eDiscovery, and Japanese
  law. 2020 School of Law Outstanding Teacher Award. 2021 School of Law Outstanding
  Scholar Award.

  Temple University, Japan Campus                                              General Counsel
  In-house counsel with responsibilities including negotiating and drafting contracts; compliance
  with corporate, education, employment, and immigration law; and risk management.

  Temple University Beasley School of Law                        Assistant Professor of Law
  Taught Introduction to Japanese Law, Comparative Corporate Law, Remedies, Torts at Temple
  University’s Japan Campus.

  The Pardieck Law Firm                                                             Attorney
  Civil litigation practice focusing on products liability, with responsibility for pleadings;
  discovery, including electronic discovery; motion practice; and appeals.


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  Japan-America Consulting, LLC                                                       Principal
  Translation and consulting on Japanese regulatory, marketing, and legal issues.

  University of Washington School of Law           Visiting Scholar and Part-time Lecturer
  Taught Japanese Law and researched and wrote on the consumer finance industry in Japan.

  Indiana University School of Law                                  Visiting Assistant Professor
  Taught Corporations and Securities Regulation and participated in research project commissioned
  by the Japanese Prime Minister’s Office.

  Hokkaido University School of Law                                               Lecturer
  Taught Introduction to Japanese Law and Legal Research; assisted with Negotiations course;
  researched and published on U.S. and Japanese securities law.



                             English Language Publications

 Books:          Co-author, CONTRACT LAW IN JAPAN (Kluwer International Law International
                 Encyclopaedia of Laws 2019)(Reviewed in INTERNATIONAL AND COMPARATIVE
                 LAW QUARTERLY 1-3(Cambridge University Press 05 March 2021)).


 Articles:       Co-Author, Bargained Justice: A Comparative Analysis of Plea Bargaining, 44
                 FORDHAM INT. L. J. (2021)(Received East Asian Law & Society Section,
                 Association of American Law Schools, 2019 Award for Excellence in
                 Scholarship);

                 Discovery in Japan, 31 IND. J. INT. & COMP. L. (2020);

                 The Shifting Sands of Cost Shifting, 69 CLEVE. ST. L. REV. (2021);

                 Co-Author, ADR in Japan’s Financial Markets & The Rule of Law, 10 NE. L
                 REV. 400 (Spring 2018);

                 Executing Contracts in Japan, 40 ZEITSCHRIFT FÜR JAPANISCHES RECHT 183 [J.
                 JAPANESE L.](2015);

                 Layers of the Law: A Look at the Role of Law in Japan Today, 22 PAC. RIM L.
                 & POLICY J. 599 (2013);

                 Japan and the Moneylenders—Activist Courts and Substantive Justice, 17 PAC.
                 RIM L. & POLICY J. 529 (2008)(lead article);

                 Kegs, Crude and Commodities Law: On Why it is Time to Re-examine the
                 Suitability Doctrine under U.S. Commodities Law, 7 NEVADA L. J. 301 (2007);

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                The Formation and Transformation of Securities Law in Japan: From the
                Bubble to the Big Bang, 19 UCLA PAC. BASIN L.J. 1 (2001) (lead article);

                Virtuous Ways and Beautiful Customs: The Role of Alternative Dispute
                Resolution In Japan, 11 TEMPLE INT’L & COMP. L.J. 31 (1997)(Reprinted, in
                part, in INTERNATIONAL BUSINESS LAW (2d ed. 2005));

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                Economy, 3 IND. J. GLOBAL LEGAL STUD. 457 (1996).

 Essays:        Common Expectations, THE LAW TEACHER 34 (Spring 2014).

 Translations: Kou v. Japan, 51 Saikō Saibansho Minji Hanreishu (9) 3925 [1998] [SUPREME
               COURT REPORTER OF CIVIL CASES], published in THE JAPANESE ANNUAL OF
               INTERNATIONAL LAW, NO. 41 (1998).


 Editing:       Deputy Editor of the ABA INTERNATIONAL LAW YEAR IN REVIEW 2012.


                          Japanese Language Publications

 Books:         証券取引勧誘の法規制「開示義務」「説明義務」を超えて[REGULATING THE
                SOLICITATION OF SECURITIES TRANSACTIONS: BEYOND DISCLOSURE AND THE
                DUTY TO EXPLAIN] (Commercial Law Centre, Inc. 2001). Reviewed by The Legal
                Research Foundation of the Japanese Federation of Japanese Bar Associations in
                HŌMU SOKUHŌ, June 20, 2001.


 Book           証取調へから情報開示へー民事訴訟における情報収集の再検討 [From Discovery
 Chapters:      to Disclosure—Reexamining the Collection of Information in Civil Litigation] in 民事
                法制度の構造と解釈--松久三四彦先生古稀記念 [FESTSCHRIFT IN HONOR OF
                PROFESSOR MATSUHISA MIYOHIKO] (forthcoming Shinzansha 2022);

                アメリカ製造物責任訴訟の現状と「管理される正義」[Products Liability
                Litigation in the United States & “Managed Justice”], in 『瀬川信久先生・吉田克己
                先生古稀記念論文集』[FESTSCHRIFT IN HONOR OF PROFESSORS NOBUHISA SEGAWA
                & KATSUMI YOSHIDA ](Seibundo 2018);


 Articles:      アメリカ商品先物取引法の発展と法理 [The Development and Legal Principles
                of U.S. Commodities Futures Transaction Law], 24 SAKIMONO TORIHIKI HIGAI
                KENKYŪ 5 (2005);


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                 変額保険に関する最高裁の二判決 [A Study of Two Supreme Court Opinions
                 Concerning Variable Life Insurance], 990 HANREI TIMES 52 (1999).


 Essays:         似ている問題・似ている弁護士たち[Similar Problems and Similar Attorneys],
                 63 SHŌHISHA HŌ NYŪSU 133 (2005);
                 アメリカの訴訟社会―増幅されている誤解[American Litigiousness: Amplified
                 Misunderstandings], 26 KOKUSAI SHŌJI HŌ RONSHŪ 566 (1998).



                                      Invited Lectures
 Guest Lecture, “Discovery in Japan,” University of Sydney Law School, March 24, 2021.

 Invited Presentation, “Discovery in Japan,” Japanese Law Online Workshop, December 14,
         2020.

 Invited Presentation, “Discovery in Japan,” Law & Society Annual Conference, May 30, 2020.

 Guest Speaker, “Discovery in Civil Litigation in the U.S.,” Kyoto Bar Association Study Group,
        Kyoto, Japan, December 17, 2019.

 Invited Presentation, “The Honne and Tatemae of Discovery in Japan,” Asian Law & Society
         Annual Conference, Osaka University, Osaka, Japan, December 13, 2019.

 Panel Chair, “Current and Future Issues Relating to the Judicial and Litigation,” Asian Law &
        Society Annual Conference, Osaka University, Osaka, Japan, December 13, 2019.

 Invited Presentation, “A Comparative Analysis of Plea Bargaining,” University of Hawai’i
         School of Law Climate Change in Japan’s Criminal Justice System Symposium,
         September 8, 2019.

 Invited Presentation, “Arrested for What? A Look at Executive Compensation Disclosure in
         Japan,” University of Hawai’i School of Law Climate Change in Japan’s Criminal Justice
         System Symposium, September 8, 2019.

 Invited Presentation, “Going where the Evidence Is,” Jackson County Bar Association,
         Carbondale, IL, January 17, 2019.

 Invited Presentation, “Bargained Justice: A Comparative Analysis of Plea Bargaining,” New
         Perspectives in Japanese Law Symposium, Harvard Law School, September 29, 2018.

 Invited presentation, “Complex Litigation and Managed Justice,” Central States Law School
         Association Annual Conference, Carbondale, IL, October 7, 2017.



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 Invited presentation, “Best Practices in Bad Faith Litigation,” Colorado Trial Lawyers
         Association, Denver, Colorado, October 14, 2016.

 Invited presentation, “Cost-Shifting under the Federal Rules of Civil Procedure,” Central States
         Law School Association Annual Conference, Grand Forks, ND, September 24, 2016.

 Invited presentation, “The 2015 Amendments to the Federal Rules of Civil Procedure,” Southern
         Illinois Inns of Court, February 18, 2016.

 Invited presentation, “Cost-Shifting under the Federal Rules of Civil Procedure,” Southeastern
         Association of Law Schools Conference, Boca Raton, FL, August 1, 2015.

 Invited presentation, “eDiscovery for Small and Medium-Sized Cases,” Jackson & Williamson
         County Bar Associations Joint CLE Conference, Carbondale, IL, May 1, 2015.

 Invited presentation, The Proposed Amendments to the Federal Rules of Civil Procedure &
        eDiscovery,” Hokkaido University School of Law, Sapporo, Japan. July 18, 2014.

 Invited presentation, “Layers of the Law: Contracts & Legal Consciousness in Japan,” Contract
        Law Reform in Asia Symposium sponsored by the Centre for Asian and Pacific Law at
        the University of Sydney, Australia, December 6, 2013.

 Invited presentation, “The Role of law in Japan,” Festschrift Conference in Honor of Professor
        John O. Haley, University of Washington School of Law, Seattle. October 19, 2012.

 Invited presentation, Regulation of Structured Products in the U.S., National Conference on
        Securities Remedies, Nagano, Japan. July 23, 2010.

 Invited lecture, Class Actions in the U.S., sponsored by the Kyoto Bar Association, Kyoto,
         Japan. July 30, 2007.

 Invited lecture, Fiduciary Duties in the U.S., National Conference on Securities Remedies,
        Osaka, Japan. July 27, 2007.

 Invited lecture, Securities Law Disclosure Requirements in the U.S., Japanese Federation of Bar
            Associations, Tokyo, Japan. July 26, 2007.

 Invited lecture, Communicating with Juries, Chiba Prosecutor’s Office, Chiba-city, Japan. July
         24, 2007.

 Invited lecture, The Suitability Doctrine, Hokkaido University School of Law, Sapporo, Japan.
         June 30, 2006.

 Invited lecture, Issues in U.S. Products Liability Law, Hokkaido University School of Law,
         Sapporo, Japan. November 19, 2004.



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 Invited lecture, Securities Law Disclosure Requirements in the U.S., the Japanese
        Federation of Bar Associations, Tokyo, Japan. November 17, 2004.

 Invited lecture, The Structure of U.S. Securities Law, Osaka Bar Association,
        Osaka, Japan. November 15, 2004.

 Invited lecture, Issues in U.S. Products Liability Law, Osaka Bar Association, Osaka, Japan.
        November 15, 2004.

 Invited lecture and panel discussant, National Conference on Securities Remedies, Tottori City,
         Japan. November 12-13, 2004.

 Lecture, Disclosure Requirements under U.S. and Japanese Securities Law, Hokkaido University
        School of Law, Sapporo Japan. September 24, 1999.

 Lecture, Disclosure Requirements under Japanese Law for Variable Life Insurance Policies,
        Hokkaido University School of Law, Sapporo, Japan. October 23, 1998.


                                      Invited Research

 Principle Investigator. Japan Foundation Center for Global Partnership sponsored research on
        plea-bargaining in Japan, Korea and the United States, 2016-2019.

 Coordinated research on U.S. disclosure requirements in consumer contracts for the Comparative
       Law Center, Kyoto University, commissioned by the Prime Minister’s Office, Japan.
       Spring, 2006.



                                        Certifications
        Certified eDiscovery Specialist (2018-2020); Catalyst Insight User Certification (2018);
 Catalyst Predict Specialist Certification (2018); Brainspace Analyst Certification (2020);
 Relativity Certified User (2020-2021 present); Relativity Review Management Specialist (2021-
 present); RelativityOne Certified Pro (2020- present).



                                         Associations

        American Bar Association; Indiana Bar Association; Association of Certified Electronic
 Discovery Specialists (2018-2020); Central States Law School Association (President 2016-
 2017).


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